               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA               :
                                       :
V.                                     :     1:17CR460-1
                                       :
PAULA KAY BULLOCK                      :

                        MOTION TO WITHDRAW

     NOW COMES Corey D. Buggs, attorney of record for the
Defendant, and respectfully moves the Court for an order
allowing him to withdraw as counsel and in support of said
motion, shows to the Court as follows:

     1.   Counsel was appointed to represent the defendant on
          December 20, 2017.

     2.   Counsel spoke with Attorney Paul Dubbeling via
          telephone on January 16, 2018. Attorney Dubbeling
          advised that it was his intent to file a notice of
          appearance.

     3.   Attorney Dubbeling in fact filed a notice of
          appearance via CM/ECF on January 17, 2018.


     WHEREFORE, the undersigned respectfully moves the Court
for an order allowing him to withdraw as counsel of record for
the Defendant in the above entitled action.

     Respectfully submitted, this the 19th day January, 2018.

                     /s/ Corey D. Buggs
                     Corey D. Buggs (NC Bar #24147)
                     THE LAW OFFICES OF COREY D. BUGGS, PLLC
                     418 W. Fifth Avenue
                     Lexington, NC 27292
                     336-236-4042
                     Email: coreybuggs@yahoo.com




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                      CERTIFICATE OF SERVICE

     This is to certify that I have this day served a copy of
the foregoing MOTION TO WITHDRAW upon the parties involved in
this matter by filing electronically via CM/ECF to:

Frank J. Chut, Jr., AUSA
United Stated Attorney’s Office
frank.chut@usdoj.gov

     This the 19th day of January, 2018.


                     /s/ Corey D. Buggs
                     Corey D. Buggs (NC Bar #24147)
                     THE LAW OFFICES OF COREY D. BUGGS, PLLC
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